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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  CRIMINAL NO. 21-cr-10104-PBS
                                     )
VLADISLAV KLYUSHIN                   )
            Defendant                )
____________________________________)

   ASSENTED-TO MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL AND
        REDACT CERTAIN INFORMATION FROM THE PUBLIC FILING

        Now comes the defendant Vladislav Klyushin, by and through undersigned counsel, and

hereby respectfully requests leave to file exhibits to his Motion to Suppress under seal and to redact

the names of unindicted individuals and account identifying information from the public version of

his motion. As grounds and reasons therefore, the exhibits include two affidavits and three search

warrants that contain information concerning the investigation of uncharged individuals and other

non-public information. Additionally, the motion contains account identifying information and

names of uncharged individuals that the defense respectfully believes should not be made public. For

all the foregoing reasons, the defense respectfully requests this Honorable Court to allow it to file the

exhibits under seal and to redact certain names and account identifying information from the public

version of the motion. A redacted version will be filed on the docket and an unredacted version will be

submitted to this Honorable Court and the Government.

        WHEREFORE, the defendant respectfully requests this Honorable Court to grant the

instant request.

                        COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        The undersigned counsel conferred with counsel for the Government and the

Government, by and through AUSA Stephen Frank, assents to this request.
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                                                           Respectfully Submitted,

                                                           /s/ Maksim Nemtsev
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Dated: September 20, 2022




                               CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, September 20, 2022, a copy of
the foregoing documents has been served via Electronic Court Filing system on all registered
participants.

                                                           /s/ Maksim Nemtsev
                                                           Maksim Nemtsev




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